                    Case 3:25-cv-00067-BSM          Document 1         Filed 05/25/21       Page 1 of 42
(Post. 11/19/19)




                                                 CIVIL DRAW SHEET

              Date Filed: May 25, 2021                           Docket Clerk: -
                                                                               BD- - - - - - - - -


              Case Number: -
                           3:21-cv-104
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             District Judge: Kristine G. Baker                    Magistrate Judge: ~Jo=e~J~·-V~o=lp"'"'e=--------


              Case Style: Coy's Honey Farm, Inc. v. Bayer Corporation, et al


             Division: ~
                       Northern
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             District Judge drawn from Assignment Deck

                   [Z] Civil
                   D Discrimination and Title VII
                   D Social Security
                   •   Prisoner
                   D Bankruptcy
                   D Pine Bluff Death Penalty
                   D Miscellaneous Case Matters
             Magistrate Judge drawn from Assignment Deck

                   [Z] Magistrate Case Matters
                   D Magistrate Social Security Referral
                   D Magistrate Prisoner 1983 & 550
                   D Magistrate Prisoner Habeas
              Summons Issued: [Z]Yes 0No

              If yes, Names of Defendants: _a_ll_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




             Notice of Right to Consent provided:      [Z]Yes   • No
Case 3:25-cv-00067-BSM         Document 1              Filed 05/25/21   Page 2 of 42



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 JS44 (Rev.04/21)
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                                                                                Filed 05/25/21  Page 3 JQlf-,\<'tr,B
                                                                                           ?:>',&l-0/  of 42
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required'!Sy law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                                                                     DEFENDANTS
               COY'S HONEY FARM, INC.                                                                                                                   BAYER CORPORATION,
                                                                                                                                                                         I
                                                                                                                                                                           ET AL

      (b) County of Residence of First Listed Plaintiff                                     CRAIGHEAD                                                  County of Residence of First Listed Defendant                        ~E~L~K~H~A~R~T---~---
                                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                                    (/N U.S. PLAINTIFF CASES ONLY)
                                                                                        ;
                                                                                                                                                       NOTE:          IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                      THE TRACT OF LAND INVOLVED.        .

      (C)     Attorneys (Firm Name, Address, and Telephone Number)                                                                                      Attorneys (If Known)
               Richard H. Mays, Richard Mays Law Firm PLLC, 2226
               Cottondale LN#100, Little Rock,AR72202(501-891-6116)
 II. BASIS OF JURISDICTION (Place an "X" in One Box On(v)                                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff
                                                                                                                                                  (For Diversity Cases Only)                                                and One Box for Defendant)
01         U.S. Government                           03         Federal Question                                                                                                       PTF          DEF                                        PTF       DEF
              Plaintiff                                           (U.S. Government Not a Party)                                           Citizen of This State                        [R] I
                                                                                                                                                                                                •          Incorporated or Principal Place
                                                                                                                                                                                                             of Business In This State
                                                                                                                                                                                                                                               O4        04


02         U.S. Government                           04         Diversity                                                                 Citizen of Another State                     0   2    0      2   Incorporated and Principal Place    D5        [R]5
              Defendant                                           (Indicate Citizenship ofParties in Item Ill)                                                                                               of Business In Another State

                                                                                                                                          Citizen or Subject of a                      0   3    0      3   Foreign Nation
                                                                                                                                            Foreign Country
 IV. NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                                         Click here for: Nature of Suit Code Descri tions.
               CONTRACT                                                                 TORTS                                                 FORFEITURE/PENALTY                                    BANKRUPTCY                      OTHER STATUTES


~                                                                                                                                                                                          8
     110 Insurance                                      PERSONAL INJURY                             PERSONAL INJURY                           625 Drug Related Seizure                          422 Appeal 28 USC 158             375 False Claims Act
     120 Marine                                         310 Airplane                         O 365 Personal Injury -.                             of Property 21 USC 881                        423 Withdrawal                    376 Qui Tam (31 USC
     130 Miller Act                                     3 I 5 Airplane Product                     Product Liability                          690 Other                                             28 USC 157                         3729(a))
     140 Negotiable Instrument                                 Liability                     O 367 Health Care/                                                                                  INTELLECTUAL                     400 State Reapportionment
0    150 Recovery of Overpayment                        320 Assault, Libel &                           Pharmaceutical                                                                           PROPERTY RIGHTS                   410 Antitrust


8
         & Enforcement of Judgment
     151 Medicare Act
                                                               Slander
                                                        330 Federal Employers'
                                                                                                       Personal Injury
                                                                                                       Product Liability                                                                   •    820 Copyrights                    430 Banks and Banking
                                                                                                                                                                                                                                  450 Commerce
     152 Recovery of Defaulted
         Student Loans
                                                               Liability
                                                        340 Marine
                                                                                             O     368 Asbestos Personal
                                                                                                        Injury Product
                                                                                                                                                                                           8    830 Patent
                                                                                                                                                                                                835 Patent - Abbreviated
                                                                                                                                                                                                    New Drug Application
                                                                                                                                                                                                                                  460 Deportation
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         (Excludes Veterans)                            345 Marine Product                              Liability
                                                                                                                                                                                           ••   840 Trademark                          Corrupt Organizations
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     153 Recovery of Overpayment
         of Veteran's Benefits
     160 Stockholders' Suits
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                                                        350 Motor Vehicle
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                                                                                             8   PERSONAL PROPERTY
                                                                                                   370 Other Fraud
                                                                                                   371 Truth in Lending
                                                                                                                                                           LABOR
                                                                                                                                              710 Fair Labor Standards
                                                                                                                                                  Act
                                                                                                                                                                                                880 Defend Trade Secrets
                                                                                                                                                                                                    Act of2016
                                                                                                                                                                                                                                  480 Consumer Credit
                                                                                                                                                                                                                                       (15 USC 1681 or 1692)
                                                                                                                                                                                                                                  485 Telephone Consumer
0    190 Other Contract                                       Product Liability              O     380 Other Personal                         720 Labor/Management                              SOCIAL SECURITY                        Protection Act

8    195 Contract Product Liability
     196 Franchise
                                                        360 Other Personal
                                                              Injury
                                                        362 Personal Injury -
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                                                                                                       Property Damage
                                                                                                   385 Property Damage
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                                                                                                                                                  Relations
                                                                                                                                              740 Railway Labor Act
                                                                                                                                              751 Family and Medical
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                                                                                                                                                                                                                                  490 Cable/Sat TV
                                                                                                                                                                                                                                  850 Securities/Commodities/
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                                                              Medical Malpractice                                                                 Leave Act                                     864 SSID Title XVI                890 Other Statutory Actions
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          210 Land Condemnation                             440 Other Civil Rights                              Habeas Corpus:                            791 Employee Retirement          •    865 RSI (405(g))                  891 Agricultural Acts
                                                                                                                                                                                                                                  893 Environmental Matters
0    220 Foreclosure                                    441 Voting                                 463 Alien Detainee                               Income Security Act                         FEDE       LTAX UITS              895 Freedom oflnformation

§    230 Rent Lease & Ejectment
     240 Torts to Land
                                                        442 Employment
                                                        443 Housing/
                                                                                                   510 Motions to Vacate
                                                                                                       Sentence                                                                            •    870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                    or Defendant)
                                                                                                                                                                                                                                       Act
                                                                                                                                                                                                                                  896 Arbitration

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     245 Tort Product Liability
     290 All Other Real Property
                                                            Accommodations
                                                        445 Amer. w/Disabilitics -
                                                                                                   530 General
                                                                                                   535 Death Penalty                                 L\1MIGRATION
                                                                                                                                                                                           •    871 IRS-Third Party
                                                                                                                                                                                                     26 USC 7609
                                                                                                                                                                                                                                  899 Administrative Procedure
                                                                                                                                                                                                                                       Act/Review or Appeal of
                                                            Employment                             Other:                                     462 Naturalization Application                                                           Agency Decision
                                                        446 Amer. w/Disabilities -                 540 Mandamus & Other                       465 Other Immigration                                                               950 Constitutionality of
                                                            Other                                  550 Civil Rights                               Actions                                                                              State Statutes
                                                        448 Education                              555 Prison Condition
                                                                                                   560 Civil Detainee -
                                                                                                       Conditions of
                                                                                                       Confinement
 V. ORIGIN (Place an "X" in One Box Only)
0 I Original                       D 2 Removed from                            03            Remanded from                      D 4 Reinstated or D 5 Transferred from D 6 Multidistrict                                                D 8 Multidistrict
          Proceeding                         State Court                                     Appellate Court                              Reopened                           Another District                    Litigation -                 Litigation -
                                                                                                                                                                             (specify)                           Transfer                     Direct File
                                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
 VI. CAUSE OF ACTION                                       15 USC Sec.1125(a); Ark. Code Ann. Sec. 16-226-101, et seq.
                                                          Brief description of cause:
                                                          Damage to Property Due to Defective Product
 VII. REQUESTED IN                                       0       CHECK IF THIS IS A CLASS ACTION                                              DEMAND$                                                  CHECK YES only if demanded in complaint:
      COMPLAINT:                                                 UNDER RULE 23, F.R.Cv.P.                                                      $75,000+                                                JURY DEMAND:                 0Yes       0No

 VIII. RELATED CASE(S)
                                                               (See instructions):
       IF ANY                                                                                 JUDGE




     RECEIPT#                                 AMOUNT                                                                                                                      JUDGE                                    MAG.JUDGE
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF ARKANSAS                             MAY t-5 2021
                         NORTHERN DIVISION
                                                                        i~~ES ~c~CK,,CLERK
                                                                                               DEPCLERK
COY'S HONEY FARM, INC.                                                    PLAINTIFF


        vs.                      No.     3 :;21-c.v- In'-{-t<~8

BAYER CORPORATION;            ThiscaisezssignedtoOistrictJud~e    ~
BAYER U.S., LLC;              andioMagistrateJudg~      _.' 7 ,tVolfE..
BAYER CROPSCIENCE (ARKANSAS) INC.;
BASF CORPORATION; and
BASF AGRICULTURAL SOLUTIONS SEED US LLC             DEFENDANTS


                                   COMPLAINT


        Comes the Plaintiff, Coy's Honey Farm, Inc., and for its cause of action

against the Defendants, Bayer Corporation; Bayer U.S., LLC; Bayer Cropscience

(Arkansas) Inc.; BASF Corporation; BASF SE; BASF Crop Protection, and BASF

Agricultural Solutions Seed US LLC (collectively "BASF"); and states:

                                       The Parties

        1.    Plaintiff is a corporation organized and existing under the laws of the

State of Arkansas, with its principal office in Craighead County, Arkansas.

Plaintiff's principal business is the commercial keeping, reproduction and use of

honey bees, and the harvesting, marketing and sale of honey produced by those

bees.
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      2. Defendant, Bayer Corporation, is a foreign for-profit corporation

authorized to do business in the State of Arkansas, whose principal address is 1884

Miles Avenue, Elkhart, Indiana 46515-0040, and whose agent for service in. the

State of Arkansas is Corporation Service Company, 300 Spring Building- Suite

900, 300 South Spring Street, Little Rock, Arkansas 72201.

      3. Defendant, Bayer U.S. LLC, is a Delaware foreign limited liability

company authorized to do business in the State of Arkansas, whose principal

address is 100 Bayer Road, Pittsburgh, PA 15206, and whose agent for service in

the State of Arkansas is Corporation Service Company, 300 Spring Building-

Suite 900, 300 South Spring Street, Little Rock, Arkansas 72201.

      4. Defendant, Bayer Cropscience (Arkansas) Inc., is a New York for-profit

corporation authorized to do business in the State of Arkansas, whose address is 2

T.W. Alexander Drive, Durham, N.C. 27709, and whose agent for service in the

State of Arkansas is Corporation Service Company, 300 Spring Building- Suite

900, 300 South Spring Street, Little Rock, Arkansas 72201.

      5. Defendant, BASF Corporation is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business at 100

Park Avenue, Florham Park, New Jersey, and whose agent for service in the State

of Arkansas is CT Corporation System, 124 West Capitol A venue - Suite 1900,

Little Rock, Arkansas 72201.


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       6. Defendant, BASF Agricultural Solutions Seed US LLC, is a limited

liability company organized and existing under the laws of the State of Delaware,

with its principal place of business at 100 Park Avenue, Florham Park, New Jersey,

and whose agent for service in the State of Arkansas is CT Corporation System,

124 West Capitol Avenue - Suite 1900, Little Rock, Arkansas 72201.



                            JURISDICTION AND VENUE

       7. This Court has subject matter jurisdiction of this case pursuant to 28

U.S.C. §§ 1331 and 1332, and supplemental jurisdiction pursuant to 28 U.S.C.

§ 1367(a).

       8. Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2), in that

this is the judicial district in which a substantial part of the events or omissions

giving rise to the Plaintiffs claim occurred, and a substantial part of the property

that is the subject of this litigation is situated.

                                      Nature of Case

       9. This is a case involving the effects of herbicides containing the chemical

Dicamba ("the Dicamba Herbicides" or simply "Dicamba") developed,

manufactured, marketed and sold by each of the Defendants in the State of

Arkansas and applied by spraying on row crops, such as soybeans, cotton and corn,

in thousands of acres throughout east Arkansas.


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       10. Dicarnba is a selective benzoic acid herbicide used to control a wide

spectrum of broadleaf weeds. It has a broad application window and can be used as

a bum-down, pre- and post-emergence residual herbicide. Dicamba is rapidly

absorbed by plant leaves, stems, and roots, and works [as an auxin agonist] by

mimicking naturally-occurring plant hormones (i.e., auxins) that regulate many

plant processes, such as protein synthesis and cell growth. Dicamba induces

rapid abnormal cell growth and development in the stems, petioles, and leaves of

sensitive plants, and also limits transpiration and photosynthesis, leading to irregular

cell growth, leaf drop, and starvation, resulting in plant death.

      11. Within the short span of five years, the United States and other major

agricultural nations have seen a dramatic increase in the use of Dicamba Herbicides

as a means of controlling weeds, such as Palmer amaranth (Pigweed) in soybean,

com and cotton fields that have developed a tolerance for other herbicides. Giant

international chemical companies such as Monsanto (acquired by Defendant Bayer

in 2018) and BASF have developed seeds for soybean, com and cotton that are

genetically-modified to withstand Dicarnba, and those companies sell the seeds and

the Dicamba Herbicides to farmers as a "system."

      12. While it may be a clever scheme, it is one that is extremely dangerous to

other parts of the environment. Besides being efficient at killing weeds, Dicamba

has other characteristics that make its use highly risky:


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             a.     All of the Dicamba Herbicides that are sprayed over the

      top of the genetically modified plants settle on the plants and soils that

       are its target. Instead, portions of it "drift" (move with wind/breezes in

      the air) to other fields and areas off the target site, resulting in damage

      to or death of non-genetically-altered crops, domestic and wild plants,

       bushes, and trees that are sensitive to and damaged or eradicated by

      the Dicamba Herbicides that drift onto them.

             b.     The Dicamba Herbicides are also subjec~ to

      "volatilization," which means it converts from the liquid phase in

      which it is applied when sprayed on the genetically-modified plants to

      a gaseous form.after the spraying. That conversion from liquid to gas

      can occur hours to days after the Dicamba Herbicide is sprayed over

      the plants. Furthermore, the amount of Dicamba Herbicide that

      volatilizes increases with temperature; i.e., the higher the ambient air

      temperature, the greater the amount of volatilization of the Dicamba

      Herbicides.

       13.   The areas that may be affected off the target fields by "drift" or

"volatilization" of the Herbicides (also referred to as "chemical trespass") may be

substantial distances from the fields on which they were originally applied.

Further, because of such volatilization, it is difficult, if not impossible, to trace the


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specific field that was the source of the original application of the Dicamba

Herbicide.

      14. The herbicides manufactured and sold by the Defendants that contain

Dicamba that are currently used by many Arkansas farmers, are marketed under

various trade-names, including, without limitation, XtendMax® Herbicide with

VaporGrip® Technology ("XtendMax") (by Bayer), and Engenia® (by BASF).

      15.    Beginning in 201 7, the use of this dicamba system resulted in an

explosion of claims filed with the Arkansas Plant Board by crop growers who had

not converted to Monsanto or BASF's Dicamba Herbicide system, and from other

owners of property to where the Dicamba drifted or volatilized, causing death or

damage to fruit or nut trees, vegetable farms and gardens, ornamental plants and

natural vegetation. As the acreage on which Dicamba-tolerant crop seeds are

planted increases, the quantity of Dicamba Herbicide that is applied to those fields

increases each year, causing greater quantities and concentrations ofDicamba drift

and volatilization, and more widespread and extensive collateral damage. This also

has the effect of driving farmers who have not used the Defendants' Dicamba-

tolerant seeds and herbicides to switch to that "system" as a defense to protect

against loss of non-dicamba tolerant crops.

      16.     The magnitude of this problem in Arkansas alone becomes evident

when one considers that in 2020, there were approximately 2.8 million acres in the


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State planted in soybeans, 1.3 million acres in rice, and 300,000 acres of com.

(Ark. Farm Bureau). Monsanto claims that its Dicamba system was used on 1.5

million acres of soybeans in Arkansas, most of which acreage is in east Arkansas.

Nationally, the U.S. EPA states that, in 2018, approximately 41 percent of the

nation's soybeans and 70 percent of the cotton acreage was planted with Dicamba-

tolerant seed. These numbers will grow as farmers who have not used Dicamba

genetically-modified seeds and herbicides will begin to do so as a defensive

measure to avoid having their plants killed by drift or volatilization from their

neighbor's Dicamba fields.

      17.    The inevitable result will be millions of acres of fields with

genetically-modified crops surrounded by a landscape of dead or damaged crops,

bushes and trees, devoid of flowering plants, with the resulting loss of birds, bees

and other foraging animals and insects who need those plants for their sustenance.



                                 Coy's Honey Farm

      18. The Plaintiff, Coy's Honey Farm Inc. ("Coy's) was incorporated in the

State of Arkansas in 1997. It is a small, closely-held corporation whose

shareholders consist of members of the Coy family. It was initially founded by

Bobby E. Coy, who commenced bee-keeping and honey-producing operations with

approximately 20 hives in the Jonesboro, Arkansas, area, and who was


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subsequently joined in the business by his wife, Anna Coy, and his two sons,

Richard D. Coy and David Coy. Bobby Coy is the President of Coy's; Anna Coy is

the Secretary; and Richard and David Coy are Vice-Presidents of the company.

       19. Through the years subsequent to its formation in 1997, Coy's Honey

Farm, Inc. has grown significantly. In 2017, the number of bee hives owned and

operated by Coy's had grown to approximately 13,000. Each hive contains

between 20,000 and 50,000 bees.

      20. The hives containing the bees are frequently placed, with the permission

of landowners and authority of the Arkansas State Plant Board, in areas between or

near fields of crops, including soybeans, cotton and corn grown in eastern

Arkansas. The bees are useful to the crops during the growing season through

assisting in pollination of the crops. The bees also obtain pollen and nectar from

those crop plants and other domestic plants and flowers grown in gardens and

yards in the vicinities where the hives are placed, and from wildflowers. The bees

transport the pollen and nectar from the crops and plants to their hives and produce

honey in the hives on which they feed, and a portion of which Plaintiff harvests

and sells as part of its business operations.

      21. In 2017 and 2018, Plaintiff had approximately 260 locations for its hives

in various parts of Craighead, Crittenden, Cross, Mississippi, Poinsett, Clay,

Jackson, Greene, Lee, Phillips, Woodruff, Monroe, St. Francis and White Counties


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in Arkansas. Many of those locations were in undeveloped areas between fields in

which were and are grown com, soybeans and cotton, from which the bees would

obtain nectar and pollen, as well as from natural and ornamental plants in the

undeveloped areas and nearby yards and gardens.

      22. Bees are critical to our environment and to our food supply. As they

collect nectar for their hives, bees travel from plant to plant spreading pollen that

collects on their legs and bodies. Aside from the many benefits of having bees in

gardens, bees pollinate 85 percent of food crops intended for human consumption.

Further, bees are the only insect that produce a food (honey) consumed by humans.

Honey provides numerous vitamins, minerals and antioxidants to our diets. Most

notably, honey contains adequate levels of vitamins B 1, B3 and B6, as well as

minerals like calcium, iron, potassium and zinc. In addition to its use as a healthy

alternative to sugar in baked goods and cooking, honey has powerful antibacterial

properties. It kills bacteria and prevents infection in skin wounds, and has been

shown to relieve allergies due to trace amounts of pollen.

      23. The honey produced by the Plaintiffs bees is generated from pollen and

nectar collected by the bees from wild and domestic flowers, blooms of crop

plants, bushes, fruit trees, flowers, wild trees and other natural vegetation, and

taken by the bees to hives owned by the Plaintiff, where the bees produce the

honey.


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      24.    However, with the development of the new Dicamba Herbicides

named above, the pollen and nectar sources for Plaintiffs bees has been greatly

diminished as a result of the drift, volatilization and other spread of the Dicamba

Herbicides from the fields and crops on which they were applied to the non-field

areas on which the herbicides were not intended or allowed to be applied, thereby

damaging or eradicating the plants in those areas.

      25. As a result of the damage to or eradication of the plants from which the

Plaintiffs bees acquired their nectar and pollen, and the resulting reduction in the

production of honey by the bees, Plaintiff has sustained loss of sales and income

from the sale of honey. Plaintiff has also sustained the loss of bees through the

effects of the Dicamba Herbicides on the bees in the reduction in their food supply

necessary to support their lives.

      26. In the Fall of 2016, Defendants received regulatory approval from the

U.S. Environmental Protection Agency (U.S. EPA) to market the herbicides trade-

named XtendiMax (manufactured by Bayer and its predecessor, Monsanto),

Engenia (manufactured by BASF), and FeXapan (manufactured by Corteva and its

predecessor, DuPont), subject to certain restrictions on the manner in which these

Dicamba-based herbicides could be used. Those restrictions were imposed because

of concerns about the well-known potential for the drift and volatilization of

Dicamba Herbicides when released over crops in the field, and were intended to


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prevent or minimize unintended spread through drift or volatilization of the

herbicides from the target areas to other fields and property in the area of

application. The EPA registration for Dicamba Herbicides was renewed in 2018.

      27. In the process of obtaining regulatory approval for the herbicides, the

Defendants represented to the EPA that the potential of the herbicides to drift or

volatilize when applied in a target area was minimal. However, the Defendants

would not permit any testing of the herbicides for the characteristics of drift or

volatilization to be conducted by university agricultural departments or state

agencies. Such testing of new or proposed herbicides by university agricultural

experts prior to their introduction, is traditional and customary .

      28.    Before and after the registration of the Dicamba Herbicides by EPA in

the Fall of 2016, the Defendants also represented in its marketing of the herbicides

to farmers and other users of the herbicides, that the potential of the herbicides to

drift or volatilize when applied to a target area was minimal.

      29. Defendants were warned by numerous weed scientists that the Dicamba

Herbicides would drift and volatilize. Those weed scientists include but were not

limited to Jason Norsworthy, Ph.D. of the University of Arkansas Department of

Agriculture, and Ford Baldwin, Ph.D., who was formerly the University of

Arkansas Extension Weed Scientist from 1974 to 2001 and is currently a

professional agricultural crop consultant. They have published and continue to


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publish results of their research and investigations into the effects of Dicamba

Herbicides on row crops and other plant life in Arkansas, and continue to be of the

opinion that the Dicamba Herbicides are extremely detrimental to non-Dicamba

tolerant soybeans, cotton and com and other vegetation, and that their ability to

drift and volatilize cannot be controlled.

       30. Scientific opinions and reports of reputable weed scientists in academia

and professional consulting services, within and outside the State of Arkansas, are

virtually unanimous in their opinion that dicamba herbicides are extremely

qiffi_c~~t, if not impossible, for applicators to control, and that through drift,

volatilization and other migration off-target, they are causing and will continue to

cause widespread damage. A few of those scientists are:

      Jason K. Norsworthy, Ph.D., a member of the University of
      Arkansas Agricultural Service, where he is a Distinguished Professor;
      and a fellow of the Weed Science Society of America (WSSA). Dr.
      Norsworthy is considered to be an expert on the subject of the
      characteristics of dicamba herbicides, and their effect, not only on
      crops but also "non-target" plants.

      Dr. Norsworthy concluded, among other things, that "secondary
      movement" is considered by academics across multiple states to be "a
      major concern with off-target movement of dicamba, and is not
      manageable by the applicator."

      Ford Baldwin, Ph.D. Dr. Baldwin was the University of Arkansas
      Extension Weed Scientist for 28 years, and a Fellow of the Weed
      Science Society of America since 1996. Since 2001 he has worked as
      a private agricultural consultant with Practical Weed Consultants,
      LLC.


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Dr. Baldwin's opinion regarding the use of dicamba is summarized as:
"Dicamba has a chemistry problem that likely cannot be fixed, or at
least no evidence has been provided that it can be successfully
applied. . . . [I]gnoring the significant scientific data regarding the off
target movement ~f dicamba will be the biggest environmental
disaster agriculture has ever seen."

Trey Koger, Ph.D. is a Research Agronomist with and owner of Delta
Crop and Research, Inc. in Indianola, Mississippi, and also farms. In
2018, he was commissioned by the Arkansas Plant Board to conduct
an independent investigation regarding the impacts of dicamba
herbicides on non-crop species in Arkansas.

Dr. Koger's reports to the Plant Board contained statements such as:

      Dicamba-like symptomology was prevalent in every city,
      town and community I visited. .... Significant injury was
      documents to the following tree species: cherry, white
      oak, sycamore, maple, cypress, Bradford pear. Injury was
      also documented on virtually eve.ry broad/ea/ vegetable
      species, including: tomato, squash, okra, cucumbers,
      watermelons, and cantaloupe. ... In summary, dicamba
      injury was prevalent to sensitive trees, roadside plants,
      and non-dicamba crops throughout many of the areas in
      eastern AR in which made [sic] evaluations.

Dr. Kevin W. Bradley is a Professor of Plant Sciences at the
University of Missouri, and holds a PhD in Plant Pathology,
Physiology, and Weed Science from Virginia Tech University. He is
also a Fellow in WSSA, and is highly-regarded in his profession.

Dr. Bradley's views on the propensities of dicamba herbicides to be
transmitted to off-target vegetation, and its effect on non-dicamba
tolerant broadleafvegetation are very similar to thos~ of Dr.
Norsworthy, Dr. Baldwin and the other scientists discussed herein.




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      Dr. Thomas C. Mueller and Dr. Lawrence E. Steckel are both
      Professors of Plant Sciences at the University of Tennessee, and
      frequently collaborate on research and writing of articles regarding
      that research. They are likewise highly-regarded in their professions.
      ·Much of their research has been on the subject of the characteristics of
      dicamba herbicides and its impact on off-target vegetation.

      Their views on the propensities of dicamba herbicides to be
      transmitted to off-target vegetation, and its effect on non-dicamba
      tolerant broadleafvegetation are very similar to those of Dr.
      Norsworthy, Dr. Baldwin, Dr. Bradley, and the other scientists
      mentioned herein.

      31. The Dicamba Herbicides were highly promoted by the Defendants for

use to commence with the 201 7 planting season, and were immediately in demand

with farmers who were having difficulties controlling weeds that had become

resistant to the older herbicides. As a result, since 2017, millions of pounds of

dicamba-containing herbicides have been applied annually to post-emergent

soybeans and cotton in east Arkansas. The result has been substantial damage to or

loss of non-Dicamba tolerant soybeans and other crops and native plant life in east

Arkansas.

      32. In June 2020, the United States Court of Appeals for the Ninth

Circuit issued a decision in the case of National Family Farm Coalition et al v.

EPA, 960 F.3d 1120, 1144 (9th Cir. 2020), in which it determined that the U.S.

EPA had violated the Federal Insecticide, Fungicide and Rodenticide Act (FIFRA)




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in issuing the Dicamba Herbicide registration for the Dicamba Herbicides to the

Defendants.

      33. Among other holdings, the Ninth Circuit concluded that EPA violated

FIFRA by substantially underestimating several important risks and costs,

including the amount ofDicamba sprayed, the number of injury reports, and the

amount and costs of crop damage from spraying. That Court found that EPA

completely failed to consider and account for several other costs, such as economic

losses ensuing from anti-competitive effects of the registrations, as well as the

social costs of strife and dissension in farming communities triggered by rampant

off-target dicamba damage to neighbors' crops. Finally, it also held that EPA

violated FIFRA by predicating its conclusion that its approval would have no

adverse economic and environmental effects on label mitigation-in the form of

weather-related label use restrictions-that substantial record evidence

demonstrated were so extreme that farmers could not both follow them and have

any hope of controlling weeds. EPA failed to consider and analyze whether

following those directions was possible in real world farming conditions. 960 F .3d

at 1144.

      34. In light of the substantial flaws in EPA's decision, the Ninth Circuit

vacated the registrations. Id. at 1145.




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       35. On May 24, 2021, the EPA's Office of Inspector General issued a report

of an investigation into EPA' s 2018 decision to extend registrations for three

dicamba pesticide products varied from typical operating procedures. The

Inspector General found the following defects in the registration process and

review: (i) the EPA did not conduct the required internal peer reviews of scientific

documents created to support the dicamba decision; (ii) while division-level

management review is part of the typical operating procedure, senior leaders in the

OCSPP's immediate office were more involved in the dicamba decision than in

other pesticide registration decisions, indicating political influence in the decision;

(iii) senior-level changes were made to or omissions from scientific documents,

including exclusion of some conclusions initially assessed by staff scientists to

address stakeholder risks; (iv) staff felt constrained or muted in sharing their

concerns on the dicamba registrations; and (v) the EPA's actions on the dicamba

registrations substantially understated some risks and failed to acknowledge others

entirely.

       36. The Defendants again applied for new registrations on July 2, 2020, just

weeks after the Ninth Circuit's decision. EPA then approved those registrations on

October 27, 2020, just days before the presidential election. That registration is

being challenged in pending litigation in the U.S. District Court in Arizona.




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      37. Contrary to the material misrepresentations of the Defendants to EPA,

to purchasers of the Dicamba Herbicides, and to the public in its advertisements

regarding the Dicamba Herbicides ability and propensity to drift and volatilize, the

vast majority of scientific opinion that it is impossible to control the characteristics

of Dicamba Herbicides to drift while and after being applied, and to volatilization

after application, resulting in the widespread drifting and volatilization of the

herbicides to adjoining fields and undeveloped areas, and damage or eradication of

many wild and domestic plants from which Plaintiffs bees derive their sources of

pollen and nectar.

      38. Notwithstanding the representations of the Defendants that their

Herbicides would not drift or volatilize; and notwithstanding the restrictions and

limitations placed upon the use of the dicamba-based herbicides by the EPA and

the Arkansas Plant Board; and notwithstanding compliance with such restrictions

by the farmers, applicators and other persons using the Dicamba Herbicides, those

Dicamba Herbicides drift while being applied by farmers and other applicators,

and volatilize after application, resulting in damage to or destruction of plants,

crops and flowers in adjoining fields and undeveloped areas, some of which were

at substantial distances from the fields where the Herbicide application occurred,

and from which bees derive their sources of pollen and nectar.




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       39. As a result of the extensive use of the Herbicides in the Plaintiffs areas

of operation in east Arkansas, and the resulting drift and volatilization of the

Herbicides from the intended area of application to adjoining areas, many plants in

east Arkansas (other than those crops from genetically-modified seeds) have been

damaged or decimated. The cqntinued use of the Dicamba Herbicides in eastern

Arkansas will continue to cause widespread destruction and decimation of plant

life in the area.

       40. The potential ofDicamba Herbicides to drift and volalitize has been

long recognized in plant science. This potential was also recognized by the

restrictions placed upon the use of the Herbicides by the EPA in its regulatory

approvals for the Herbicides, and the additional restrictions placed on its use and

application by the Arkansas Plant Board, none of which were sufficient to prevent

the drift or volatilization of the Dicamba Herbicides. Thus, the fact that Herbicides

have, in actual use, drifted and volatilized was foreseeable on the part of the

Defendants, and was, in fact, predicted by many respected weed scientists prior to

their approval and introduction to the market.

       41. The Defendants were aware of the likelihood of drift and volatilization

to occur at the time of their application to the U.S. EPA for approval, and the sale

of the Dicamba Herbicides to the farmers and applicators who were the ultimate

end-users of the products. However, Defendants failed to adequately inform the


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EPA, the farmers and other end-users of the likelihood of drift and volatilization,

and failed to properly instruct them in use of the Dicamba Herbicides to prevent or

reduce such likelihood.

      42. As a result of the foreseeable drift and volatilization of the Herbicides to

fields, undeveloped areas, gardens and other vegetated areas not intended for the

application of the Herbicides, and the damage to or decimation of those vegetated

areas, Plaintiffs bees were, in and after 2018, unable to obtain the nectar and

pollen necessary for continued production of honey, and the Plaintiff sustained and

continues to sustain a loss of sales of honey.

      43. Further, as a result of the foreseeable drift and volatilization of the

Dicamba Herbicides to fields, undeveloped areas~ gardens and other vegetated

areas not intended for the application of the Herbicides, Plaintiffs bees were, in

and after 2018, unable to obtain the nectar and pollen necessary for their continued

nourishment and life-support, and the Plaintiff has also sustained and continues to

sustain a loss of bees.

      44. In addition, because the I)icamba Herbicides volatilize and spread in all

directions, it is difficult, if not impossible, to trace the field or place to which the

Dicamba Herbicide was originally applied, and therefore to determine who was the

owner/applier of the Herbicide.




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      45. Because of the aggressive and misleading promotion of Defendants'

Dicamba Herbicide products; the extensive use of such products by farmers and

applicators in east Arkansas; and the characteristics of the Herbicides to volatilize

over large areas without leaving a "trace," it is difficult or impossible to identify

any single application that caused or contributed to the damage to plant life in that

area which caused Plaintiffs damages. Because each Defendant was aware of the

characteristics of the Dicamba Herbicides to drift and volatilize, and nevertheless

concealed, minimized or failed to adequately warn purchasers of those products of

those characteristics, each Defendant should be held liable for all damages claimed

herein in proportion to the sales of their products for use in the areas.




                    PLAINTIFFS' CLAIMS FOR RELIEF

                                    COUNTI
                             Violation of Lanham Act
                            (15 U.S.C. § 1125(a)(l)(B))

      46.    Plaintiffs incorporate by reference all of the above paragraphs as

though fully set forth herei~.

      47. The Lanham Act, 15 U.S.C. § l 125(a), provides in pertinent part:

             ( 1) Any person who, on or in connection with any goods or
             services, or any container for goods, uses in commerce any
             word, term, name, symbol, or device, or any combination
             thereof, or any false designation of origin, false or
             misleading description of fact, or false or misleading
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             representation of fact, which-

                    (B) in commercial advertising or promotion,
                    misrepreseqts the nature, characteristics,
                    qualities, or geographic origin of his or her or
                    another person's goods, services, or commercial
                    activities, shall be liable in a civil action by any
                    person who believes that he or she is or is likely
                    to be damaged by such act.

      48. Defendants' statements and commentary made to the press,

statements on the internet, during quarterly conference calls, incorporated into

Defendants' websites on its Herbicide product labels and marketing materials,

and through other media representing that the Dicamba Herbicides could be

safely used for over-the-top application on dicamba-resistant seeds and crops,

and would not drift and volatilize, were materially false statements that

promoted and misrepresented the nature, characteristics, and qualities of

Defendants' Herbicides.

      49. Those statements are materially false as they misrepresented, and

are, and continue to be, misrepresentations and denials of the nature, characteristics,

and qualities of the potential of the Dicamba Herbicides to drift and volatilize

onto non-target dicamba-intolerant crops and plants, and their ability to cause

damage to non-target dicamba-intolerant crops and plants as a result of over-

the-top dicamba application.


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      50. Defendants' misrepresentations were widely distributed in the

Nation's agriculture communities, and those misrepresentations influenced

purchasing decisions of farmers, applicators and other end users of

Defendants' Herbicide products.

      51. Defendants' misrepresentations proximately caused and continue

to cause damage to Plaintiff as stated above.

      52. Defendants' acts constitute the use of false descriptions and false

representations in interstate commerce in violation of the Lanham Act, 15

U.S.C. § 1125(a).

      53. Such misrepresentations and false descriptions by the Defendants

of the nature, characteristics, and qualities of their Dicamba Herbicides are

a proximate cause of the Plaintiff's loss of honey production and loss of

bees, which resulted in Plaintiff's loss of income from its honey business.



                                     COUNT II

                 BREACH OF DUTY OF MANUFACTURER
                    Ark. Code Ann. §16-226-101 et seq.

      54. Plaintiff ratifies and reaffirms all allegations heretofore set forth.

      55. The Defendants, as manufacturers of the Dicamba Herbicides, had a

duty to use ordinary care in the selection of the materials used in the Dicamba

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Herbicides, and to test it and to package it in order to protect those who would use

it or who are in the area of its use from unreasonable risk of harm while it is being

used for its intended purpose or while it is being used for any purpose which

should reasonably be expected by the manufacturer.

      56. The Defendants selected the chemical compound known as Dicamba as

the principal active ingredient of the Herbicides, which, from earlier research, was

known to have the characteristics of being highly prone to drift and volatilization.

      57. The manufacturing and sale by the Defendants of the Dicamba

Herbicides known to have the characteristics of drift and volatilization subjected

the Plaintiffs bee operations to unreasonable risk .of harm while the Dicamba

Herbicides were being used for their intended purpose or while they were being

used for any purpose which should reasonably have been expected by the

Defendants.

      58.     The manufacturing and sale by the Defendants of the Dicamba

Herbicides known to have the characteristics of drift and volatilization were a

proximate cause of the Plaintiffs loss of honey production and loss of bees, which

resulted in Plaintiffs loss of income from its honey business.




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      59. The manufacturing and sale by the Defendants of the Dicamba

Herbicides known to have the characteristics of drift and volatilization were a

proximate cause of the Plaintiffs loss of bees, which resulted in Plaintiffs loss of

income from its honey business.

      60. Plaintiff should be granted judgment of and from the Defendants, jointly

and severally, for its loss of income and loss of bees sustained since 201 7 to the

date of judgment and any reasonably foreseeable losses in the future.



                                      COUNTIII

            BREACH OF DUTY OF MANUFACTURER TO WARN
                   Ark. Code Ann. §16-226-101 et seq.

      61. Plaintiff ratifies and reaffirms all allegations heretofore set forth.

      62.    The Defendants, as manufacturers of the Dicamba Herbicides, had a

duty to give a reasonable and adequate warning of dangers inherent or reasonably

foreseeable in the use of the Herbicides for a purpose and in a manner that the

manufacturers should reasonably foresee.

      63. The Defendants selected the chemical compound known as Dicamba as

the principal active ingredient of the Herbicides, which, from its use in previously-

manufactured and used herbicides, was known to have the characteristics of being

prone to drift and volatilization.



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      64. In and as part of the sale by the Defendants of the Dicamba Herbicides

known to have characteristics of drift and volatilization to farmers, applicators and

other end-users of the Herbicides, the Defendants failed to give a reasonable and

adequate warning of the drift and volatilization dangers inherent or reasonably

foreseeable in the use of the Herbicides for the purpose and in a manner that the

manufacturers should reasonably foresee.

      65. The failure of the Defendants to warn persons who would be using and

applying the Herbicides in the fields over the top of soybeans, corn and cott<;>n

subjected the Plaintiffs bee operations to unreasonable risk of harm while the

Herbicides were being used for their intended purpose and while they were being

used for any purpose which should reasonably have been expected by the

Defendants.

      66. The Defendants' failure to give a reasonable and adequate warning of

dangers inherent or reasonably foreseeable concerning the Herbicides'

characteristics of drift and volatilization were a proximate cause of the Plaintiffs

loss of honey production and loss of bees, which resulted in Plaintiffs loss of

income from its honey business.

      67. Plaintiff should be granted judgment of and from the Defendants, jointly

and severally, for its loss of income and loss of bees sustained since 2018 to the

date of judgment and any reasonably foreseeable losses in the future.


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                                      COUNTIV

         BREACH OF DUTY OF MANUFACTURER TO INSTRUCT
                  Ark. Code Ann. §16-226-101 et seq.

      68. Plaintiff ratifies and reaffirms all allegations heretofore set forth.

      69. The Defendants, as manufacturers of the Herbicides, had a duty to give

reasonable and adequate instructions with regard to the conditions and methods of

its safe use when danger is reasonably foreseeable in its use.

      70. The Defendants selected the chemical compound known as Dicamba as

the principal component of the Dicamba Herbicides, which, from scientific

research and its use in previously-manufactured and used herbicides, was known to

have the characteristics of drift and volatilization.

      71. In and as part of the sale by the Defendants of the Herbicides known to

have the characteristics of drift and volatilization to farmers, applicators and other

end-users of the Herbicides, the Defendants failed to give reasonable and adequate

warning instructions to farmers, applicators and other end-users of the Herbicides

of the drift and volatilization dangers inherent or reasonably foreseeable in the use

of the Herbicides for the purpose and in a manner that the manufacturers should

reasonably foresee.

      72. The failure of the Defendants to instruct persons who would be using

and applying the Dicamba Herbicides in the fields over the top of soybeans, com

and cotton regarding the characteristic of the Herbicides to drift and volatilize

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subjected the Plaintiffs bee operations to unreasonable risk of harm while the

Herbicides were being used for their intended purpose or while they were being

used for any purpose which should reasonably have been expected by the

Defendants.

      73. The Defendants' failure to give a reasonable and adequate instruction to

persons who would be using and applying the Herbicides of the Herbicides'

characteristics of drift and volatilization were a proximate cause of the Plaintiffs

loss of honey production and loss of bees, which resulted in Plaintiffs loss of

income from its honey business.

      74. Plaintiff should be granted judgment of and from the Defendants, jointly

and severally, for its loss of income and loss of bees sustained since 2018 to the

date of judgment and any reasonably foreseeable losses in the future.



                       COUNTY
    BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

      7 5. Plaintiff realleges all proceeding paragraphs as if incorporated

herein.

      76. Defendants sold the Dicamba Herbicides in the ordinary course of their

business, and said Herbicides were purchased by farmers for use in treating their

crops and property to prevent or eradicate weeds while not harming their crops or

property of other persons in the area in which the dicamba Herbicides were applied.
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      77. The Herbicides were not fit for their ordinary purposes. Specifically,

the Dicamba Herbicides could not be used in the ordinary course of farming without

migrating to the property of other persons through draft or volatilization.

      78. Defendants were aware before any such Dicamba Herbicides were sold,

and during the entire course of time in which the Herbicides have been on the

market and being sold that their Dicamba Herbicide products were not fit for use in

application over the top of crops for killing weeds without the likelihood of

substantial harm being inflicted upon crops and other plant life in nearby areas. As

a direct result of Defendants' Herbicides being unfit for the purposes for which

they were sold, Plaintiff was damaged as described above.



                                    COUNT VI
                                     Nuisance

      79. Plaintiffs incorporate by reference all of the above paragraphs as

though fully set forth herein.

      80. Defendants have created a nuisance to the Plaintiff by

developing and selling Herbicides to farmers and other applicators of

Herbicides that were and are prone to drift and volatilize when sprayed

over-the-top of soybeans, cotton, com and other crops, thereby causing

widespread damage to non-dicamba resistant plants that such Herbicides

have affected by drift or volatilization.

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      81. This constitutes an unreasonable and substantial interference with the

rights of the Plaintiff to keep and maintain its bees and their honey-producing

activities on lands not targeted by Defendants' Dicamba Herbicides.

      82. Plaintiff has suffered harm from the nuisance caused by

Defendants' Herbicides that is distinct and different from that suffered by the

general public in that, as described above, they have suffered losses in the form

of loss of profits from their honey-producing business and loss of bees from

the damage and destruction of non-target crops and plants caused by the

Herbicides.



                                    COUNT VII
                                     Trespass

      83. Plaintiff incorporates by reference all of the above paragraphs as

though fully set forth herein.

      84. Plaintiff is engaged in the keeping and maintenance of bees and the sale

of honey produced by those bees. The production of such honey is conducted by the

bees in hives located on lands on which Plaintiff has permission or license from the

owners thereof to use for such purposes.

      85. Defendants, by manufacturing and selling the Herbicides that drift,

volatilize and otherwise cause damage to non-dicamba-resistant plants have

caused such Herbicides to enter upon property on which Plaintiff was legally

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 entitled to keep and maintain its bees, and on which such bees had a right to

 gather nectar, pollen and other plant substances. Such trespass by Defendants'

 Herbicides has adversely impacted Plaintiffs business through reduction in the

 harvest and yield of honey.


                                    COUNT VIII
                                     Negligence

       86. Plaintiffs incorporate by reference all of the above paragraphs as

 though fully set forth herein.

       87. Defendants owed a duty of reasonable care to its customers, the

 farmers and applicators who use the Dicamba Herbicides, and to other persons who,

 with reasonable foreseeability, might be affected by the Herbicides (such as adjoining

 property owners and Plaintiff) in developing, manufacturing and selling products

 that would meet the purposes and need for which they were sold and

/ purchased, without risk of harm to the property of others, and would perform

 as represented.

       88. Defendants manufactured and sold their products without taking

 ordinary care to avoid the foreseeable consequences of dicamba application,

 including volatilization and drift to areas other than that to which the

 Herbicides were applied.



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      89. Defendants were _negligent by acts and omissions including but not

limited to:

      a. Manµfacturing and sell~ng a Dicamba Herbicide that
         Defendants kriew or should have known would damage or
         decimate all plants other than those that had been genetically-
         engineered to resist the Herbicide and that was known to and
         would be likely to drift and/or volatilize to areas other than the
         target area for its application;
      b. Manufacturing and selling the Herbicides without reasonable,
         customary and adequate field testing by objective independent
         scientists, agencies or institutions to determine the potential of
         the Herbicides to drift or volatilize in real-world conditions.

      c. Manufacturing and selling the Herbicides without reasonable
         or adequate warnings and safeguards as to their use and the
         consequences~hereo~
                 '
                ft

      d. Selling the Herbicides to farmers and other applicators with
         knowledge by Defendants that they lacked the mechanisms,
         experience, ability and /or com_petence to effectively prevent
         them from utilizing the Herbicides for over-the-top
         applications;

      e. Utilizing inadequate and difficult, if not impossible to follow
         labels and instructions;

      f.   Failing to adequately warn and instruct farmers on the dangers
           of utilizing the Herbicides to the property of nearby property
           owners;

      g. In failing to test their products, including allowing independent
         testing by universities, state agencies and other testing
         organizations, to determine the extent to which over-the-top
         application of the Herbicides would injure off-target crops;

      h. In failin~ to provide reasonable instructions and take other
         appropriate measures as are necessary to prevent such non-
         target damage;

      1.      In failing to give reasonable and adequate warnings of dangers
              inherent or reasonably foreseeable in the use of their products;
              and


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      J.   In failing to p_rovide clear and understandable instructions to
           farmers, applicators and other end-users as are necessary to
           permit the reasonably safe use of their products.

      90. Defendants' negligence is a direct and proximate cause of the

damages sustained by the Plaintiffs.



                                  COUNTIX
                      Strict Liability - Products Liability
                (Ark. Code§ 4-86-102 and§ 16-116-101 et seq)

      91. Plaintiffs incorporate by reference all of the above paragraphs as

though fully set.forth herein.

      92. Pursuant to Section 4-86-102 and Section 16-116-101 et seq of the

Arkansas Code, a supplier of a product is subject to liability for harm to

another person or his property if: (1) the supplier is engaged in the business of

manufacturing, selling, or distributing the product; (2) the product was

supplied by him in a defective condition that rendered it unreasonably

dangerous; and (3) the defective condition was a proximate cause of the harm

to person or to property.

      93. Defendants are engaged in the business of manufacturing, selling,

and distributing Dicamba-based Herbicide formulations to be utilized over-the-

top of Defendants' genetically-engineered soybeans, cotton and com, and

therefore are each a "supplier" for the purpose of Section 4-86-102 of the

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Arkansas Code.

      94. Defendants' Herbicide formulations are defective products that,

because of their characteristics of drift and volatilization, are uncontrollable

and cannot be used in a safe manner to prevent injury to non-target crops. Each

of the Defendants supplied their respective products in a defective condition

that rendered them unreasonably dangerous to non-genetically engineered

plants, flowers, bushes and trees.

      95. The damage to non-genetically engineered plants, flowers, bushes and

trees from the reasonably-foreseeable use and effect of the Herbicides was a direct

and proximate result of such use, and the defective condition of Defendants' products

was a proximate cause of the harm to Plaintiff.

      96. Defendants are strictly liable for all damages to Plaintiffs and the

Class caused by their products.



                                 COUNTX
   Strict Liability - Ultrahazardous or Abnormally Dangerous Activity
                          (Arkansas Common Law)

      97. Plaintiffs incorporate by reference all of the above paragraphs as

though fully set forth herein.

      98.Defendants' manufacturing, selling or otherwise disseminating the

Dicamba Herbicide products that are highly toxic to plants that are not

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genetically-engineered to withstand Dicamba, with full knowledge of those

Herbicides' characteristics of drift and volatilization to areas other than that of

application constitutes an abnormally dangerous or ultrahazardous activity

because such activities involve a high degree of risk of harm to the valuable

property of others that is significant, and that cannot be eliminated by the

exercise of reasonable care.

      99. The type of harm suffered by Plaintiff is the kind of harm, or the

possibility of such harm, which makes the activity abnormally dangerous.



                                COUNT XI
                    Arkansas Deceptive Trade Practices Act
                        (Ark. Code§ 4-88-101, et seq.)

      100. Plaintiffs incorporate all of the above paragraphs as though fully

set forth herein.

      101. Each of the Defendants is a "person" for the purposes of the

Arkansas Deceptive Trade Practices Act pursuant to Ark. Code Ann.§ 4-88-

102(3).

      102. The Herbicide products constitute "goods" within the meaning of

Ark. Code Ann.§ 4-88-102(6).

      103. Pursuant to Arkansas Code Annotated section 4-88-108, it is

unlawful for any person to conceal, suppress, or omit material facts in

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connection with the sale or advertisement of goods, such as the Herbicides.

          104. Pursuant to Arkansas Code Annotated section 4-88-107(a)(l ), it is

unlawful for any person to knowingly make false representations as to the

characteristics of goods, such as the Herbicides.

          105. Pursuant to Ark. Code Ann. section 4-88-107(a)(10), it is unlawful

in Arkansas to engage in an "unconscionable, false, or deceptive act or practice

in business, commerce, or trade." Further, pursuant to Arkansas Code

Annotated section 4-88-107(b), "[t]he deceptive and unconscionable trade

practices listed in this section are in addition to and do not limit the types of

unfair trade practices actionable at common law or under other statutes of this

state."

          106. Defendants engaged in unconscionable, false, and deceptive acts

and practices in marketing, selling, and labeling their products to imply that the

product could safely be used and not lead to damage to non-target crops and

plants. Defendants knew or should have known, if exercising ordinary care,

that this was not the case. Defendants were forewarned of the propensity of

dicamba-based herbicides to drift and volatilize. Defendants also knew or

should have known that the use of the products as labeled posed a risk to non-

target crops and plants that was beyond the control of the user even when

following the label or other instructions.


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      107. Defendants' customers and Plaintiff were subjected to suppression,

concealment and omission of material facts as a product of collusive, unlawful

efforts by Defendants to suppress, conceal and omit from regulatory agencies,

Defendants' customers and other users of the Herbicides that their products

posed a risk to non-target crops and plants that was beyond the control of the

user when following the label or other instructions.

      108. As a result of Defendants' concealment of such material facts, the

running of any statute of limitations has been tolled with respect to any claims

that Plaintiff has as a result of the wrongful and unlawful conduct alleged in

this complaint.

      109. Plaintiffs have a cause of action against each Defendant pursuant

to Ark. Code Ann. Section 4-88-113 to recover their damages caused to their

bees and the ability of those bees to produce honey, as well as reasonable

attorneys' fees.

      110. As a direct and proximate result of Defendants' ultrahazardous or

abnormally dangerous activities, Plaintiff has sustained, and will continue to

sustain substantial injuries and damages, including those alleged above.

      111. Defendants are strictly liable to Plaintiff for all damages that have

resulted or will result from their abnormally dangerous activities with respect

to disseminating the Herbicides.


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                                  COUNT XII
                              PUNITIVE DAMAGES

      112. Plaintiffs reallege all proceeding paragraphs as if incorporated herein.

      113. At all times, Defendants sold their Herbicides with full knowledge of

the defective condition and danger of those Herbicides caused by the

characteristics of drift and volatilization to non-dicamba resistant plants.

      114. The actions of Defendants in manufacturing and marketing the

Herbicides with knowledge of the characteristics of drift and volatilization show

complete indifference to or conscious disregard for the property of others, such as

that of the Plaintiff, and was reckless, intentional, knowing, malicious, and willful.

Plaintiff is entitled to a recovery of punitive damages against Defendants in a fair

and reasonable amount.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully prays that this Court enter judgment

against Defendants for ( l) an award of such compensatory damages in an amount

exceeding $75,000.00, (2) punitive damages in such amount as to punish the

Defendants for their willful and reckless conduct; (3) entry of a preliminary and

permanent injunction prohibiting Defendants from manufacturing, marketing,

selling or distributing their Herbicide products in their current formulations; (4)


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prejudgment interest; (5) awarding Plaintiffs their costs, expenses, and reasonable

attorney's fees incurred in this matter; and (6) for such further relief as the Court

deems just and proper.


                         DEMAND FOR JURY TRIAL

Plaintiffs request a jury trial on all issues so triable.
                                     '




Dated: May 25, 2021.


                                          ·chard H. Mays
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                                  VERIFICATION
STATE OF MISSISSIPPI                      )
                                        )ss.
COUNTY OF STONE                                )


       I, Richard Coy, after being duly sworn to tell the truth, state that I am a Vice-
President of Coy's Honey Farm, Inc., an Arkansas corporation, and am duly
authorized to sign this Verification on behalf of said corporation. I have read the
above and foregoing Complaint, and the facts and allegations contained therein are
true and correct to the best of my knowledge, information and belief.


   I"\ WITNESS MY HAND as Vice-President of Coy's Honey Farm, Inc., on
thi~_/_ day of May, 2021.




                                                             Vice-President
                                                             Coy's Honey Farm, Inc.



       SUBSCRIBED AND SWORN TO before me, a Notary Public in and for
the State and County aforesaid, on t h i ~ day of May, 2021.




                                                            Notary Public


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